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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

 In Re:                                           )     Chapter 7
                                                  )
 Josiah M. Cox and Laura E. Cox,                  )     Case No. 14-04114
                                                  )
                 Debtors,                         )     Adv. Pro. No.
                                                  )
                                                  )     Complaint to Determine
                                                  )     Dischargeabilty of Debt
 Jay R. Herigodt & Joy Stowell,                   )
                                                  )     Jason Charpentier, Esq.
                 Plaintiffs,                      )     Growe Eisen Karlen
                                                  )     7733 Forsyth, Ste. 325
                                                  )     Clayton, MO 63105
                                                  )     314-725-1912
                                                  )     jason@groweeisen.com
                                                  )
                                                  )     Peter D. Kerth
                                                  )     Jenkins & Kling, P.C.
 v. Josiah M. Cox,                                )     150 N. Meramec Ave., Ste. 400
                                                  )     Clayton, MO 63105
          Defendant.                              )     314-721-2525
                                                  )     pkerth@jenkinskling.com

                                 FIRST AMENDED COMPLAINT

          COME NOW Jay R. Herigodt and Joy Stowell (collectively the “Plaintiffs”), and for their

 First Amended Complaint to Determine Dischargeability of Debt against debtor Josiah M. Cox,

 state as follows:

          1.     Josiah M. Cox and Laura E. Cox commenced their Chapter 7 case by filing their

 voluntary petition on February 7, 2014.

          2.     Plaintiffs are creditors of the debtor Josiah M. Cox (hereinafter the “Debtor”).

          3.     This Court has jurisdiction over this matter pursuant to 28 USC §§1334 and 157.

 This matter is a core proceeding.
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         4.        Plaintiffs seek a determination that the indebtedness of the Debtor to Plaintiffs is

 not subject to discharge in this Chapter 7 case pursuant to 11 USC §523(a)(2)(A) in that it arose

 from the false pretenses, false representation or fraud of the Debtor and his joint tortfeasors

 Trumpet Builders, LLC and Paul Henkler.

         5.        Plaintiffs Jay R. Herigodt and Joy Stowell are a married couple.

         6.        In 2011 Plaintiffs decided to build a custom, eco-friendly house to reside in with

 their children.

         7.        Plaintiffs purchased a vacant lot, at the address of 143 West Bless Us Drive,

 Wentzville, Missouri, for the purpose of building their custom home.

         8.        Plaintiffs were given the name of Trumpet Builders, LLC (“Trumpet”) as a

 potential general contractor by an acquaintance.

         9.        The Debtor and Paul Henckler (“Henckler”) are the members of Trumpet.

         10.       The Plaintiffs interviewed the Debtor and Henckler about hiring Trumpet as the

 general contractor for their home construction project (hereinafter the “Project”).

         11.       As a part of that interview process and in subsequent conversations, Plaintiffs

 discussed the payment to a deposit to Trumpet to be used only for expenses related to the Project.

         12.       The Debtor and Henckler expressly represented to the Plaintiffs that any deposit

 paid to Trumpet would be used exclusively for expenses related to the Project.

         13.       Upon information and belief, at the time that the Debtor and Henckler made the

 representation that the deposit would be used exclusively for the Project, they knew that due to the

 poor financial condition of Trumpet and themselves individually, Trumpet would use any deposit

 received for its own purposes and to pay personal expenses of the Debtor and Henckler.
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          14.   Upon information and belief, the Debtor and Henckler made those representations

 with the intention that the Plaintiffs would rely on the representations if they paid a deposit to

 Trumpet.

          15.   After review of drawings, plans and specifications for the Project, Trumpet

 submitted their bid to build Plaintiffs’ home for $1,572,879.00.

          16.   Plaintiffs accepted Trumpet’s bid and on February 24, 2012 entered into a contract

 for the construction of the Project.

          17.   Pursuant to the contract, Plaintiffs gave Trumpet a cashier’s check in the amount of

 $80,000.00 as the initial deposit for the project.

          18.   Plaintiffs paid this deposit in reasonable reliance upon the representations of the

 Debtor and Henckler that the deposit would be used exclusively for expenses related to the Project.

          19.   Following the execution of the February 24, 2012 contract, Plaintiffs cancelled the

 contract because the Project appraised for an amount less than the contract prices. Trumpet did

 not return the $80,000.00 deposit upon cancellation.

          20.   Plaintiffs subsequently entered into a second contract with Trumpet, dated June 4,

 2012 with a reduced contract price of $1,289,216.00. The previous deposit of $80,000.00 was

 retained by Trumpet to serve as the deposit under this second contract.

          21.   No work was performed by Trumpet for the Project.

          22.   On September 6, 2012 Plaintiffs terminated the second contract and demanded the

 return of their initial $80,000.00 deposit.

          23.   The termination of the second contract was pursuant to Article 11.3 of the second

 contract, which provided that either party had the right to terminate the contract with or without

 cause.
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        24.      To date, Plaintiffs have not received any money from Trumpet to repay the

 $80,000.00 deposit.

        25.      Trumpet did not use the deposit only for expenses of the Project, but instead used

 the deposit for unrelated expenses of Trumpet and, upon information and belief, for personal

 expenses for the benefit of the Debtor and Henckler.

        26.      As a result of Trumpet’s, the Debtor’s and Henckler’s tortious breach of the

 representation that the deposit would be used only for expenses related to the Project, the Plaintiffs

 have been damaged in the amount of $80,000.00.

        27.      Trumpet, the Debtor and Henckler are jointly and severally liable for damages

 arising from the breach of representation.

        28.      Pursuant to 11 USC §523(a)(2)(A), the Debtor’s indebtedness to the Plaintiffs is

 not subject to discharge in bankruptcy because it is indebtedness for money obtained by false

 pretenses, false representation or actual fraud in the following respects:

               i.   Debtor represented he would only use the deposit money for expenses related

                    to the construction project, when he knew at the time he made that promise the

                    money was going to be used for items wholly unrelated to the project including

                    personal expenses and taxes; and

              ii.   Debtor represented he would return any deposit money that was not used in

                    connection with the contract, but to date has failed to return any money to

                    Plaintiffs even though very little if any of the deposit was spent on matters

                    related to the project because no construction whatsoever occurred in

                    furtherance of the project.
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        WHEREFORE the Plaintiffs request that the Court enter judgment against the Debtor and

 in favor of Plaintiffs in the amount of $80,000.00, and further order that the indebtedness of the

 Debtor to Plaintiffs is not subject to discharge in the Debtor’s Chapter 7 case, along with such

 additional relief as the Court deems appropriate.




                                               Respectfully submitted,


                                               GROWE EISEN KARLEN


                                               By:_/s/_Jason A. Charpentier_________
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                                                      -and-

                                               JENKINS & KLING, P.C.


                                               By:_/s/_Peter D. Kerth____________
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                                                 Attorneys for Plaintiffs




                                 CERTIFICATE OF SERVICE
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        The undersigned hereby certifies that a true and correct copy of the above and foregoing
 pleading was served by electronic filing in the CM/ECF system of the United States Bankruptcy
 Court for the Eastern District of Missouri or via U.S. Mail, postage prepaid, this 26th day of
 August, 2014, to:

 Office of the U.S. Trustee
 111 South Tenth Street, Suite 6353
 St. Louis, MO 63102

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                                                    /s/ Jason A. Charpentier
